           Case 25-01168-JMC-7                      Doc 20          Filed 06/19/25              EOD 06/20/25 00:19:37                       Pg 1 of 4
                                                              United States Bankruptcy Court
                                                               Southern District of Indiana
In re:                                                                                                                 Case No. 25-01168-JMC
Ashlie Noel Cowan                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0756-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 17, 2025                                               Form ID: b318                                                             Total Noticed: 21
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 19, 2025:
Recip ID                   Recipient Name and Address
db                     +   Ashlie Noel Cowan, 3090 N Morton St, Lot 3, Franklin, IN 46131-9630
17178461               +   Dillion Legal Group, 199 N. Main St., Franklin, IN 46131-1720
17178462               +   Eagle Finance, 7799 U.S. 31 S., Ste. A, Indianapolis, IN 46227-8680
17178463               +   Eagle Financial Serv, Atn: Bankruptcy, 7799 Us 31 S, Ste A, Indianapolis, IN 46227-8680
17178464               +   Indiana Farm Bureau Insurance, 99 N. Morton St., Franklin, IN 46131-2157
17178468               +   Ray Skillman Northeast Kia, Attn: Bankruptcy, 1350 Shadeland Ave, Indianapolis, IN 46219-3635

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
17178459                   Email/Text: bankruptcy@creditfresh.com
                                                                                        Jun 17 2025 21:24:00      CreditFresh, 200 Continental Drive, Suite 401,
                                                                                                                  Newark, DE 19713
17178458               + Email/Text: ebnnotifications@creditacceptance.com
                                                                                        Jun 17 2025 21:24:00      Credit Acceptance, Attn: Bankruptcy, 25505 West
                                                                                                                  12 Mile Road Ste 3000, Southfield, MI
                                                                                                                  48034-8331
17178460               + Email/Text: ElectronicBkyDocs@nelnet.studentaid.gov
                                                                                        Jun 17 2025 21:24:00      Dept Of Education/neln, P.O. Box 82561, Lincoln,
                                                                                                                  NE 68501-2561
17178456                   Email/Text: bankruptcycourts@equifax.com
                                                                                        Jun 17 2025 21:24:00      Equifax Information Services LLC, P.O. Box
                                                                                                                  105788, Atlanta, GA 30348-5788
17178455               ^ MEBN
                                                                                        Jun 17 2025 21:19:39      Experian, Attn: Bankruptcy Dept., P.O. Box 2002,
                                                                                                                  Allen, TX 75013-2002
17178454                   Email/Text: INDWDBankruptcy@dwd.IN.gov
                                                                                        Jun 17 2025 21:24:00      Indiana Workforce Development, Benefit Payment
                                                                                                                  Control, 10 North Senate Ave., Room SE 107,
                                                                                                                  Indianapolis, IN 46204
17178450               + Email/Text: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV
                                                                   Jun 17 2025 21:25:00                           Indiana Department of Revenue, Bankruptcy
                                                                                                                  Section --- MS108, 100 N. Senate Avenue, Rm
                                                                                                                  N248, Indianapolis, IN 46204-2217
17178465               + Email/Text: sebmeier@indianafinance.net
                                                                                        Jun 17 2025 21:24:00      Indiana Finance Co, Attn: Bankruptcy, P.O. Box
                                                                                                                  49, Anderson, IN 46015-0049
17178449                   EDI: IRS.COM
                                                                                        Jun 18 2025 01:19:00      Internal Revenue Service, Centralized Insolvency
                                                                                                                  Operations, P.O. Box 7346, Philadelphia, PA
                                                                                                                  19101-7346
17178466               + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Jun 17 2025 21:24:00      Midland Credit Mgmt, Attn: Bankruptcy, P.O. Box
                                                                                                                  939069, San Diego, CA 92193-9069
17178467               + Email/Text: ElectronicBkyDocs@nelnet.studentaid.gov
                                                                                        Jun 17 2025 21:24:00      Nelnet, Attn: Claims, P.O. Box 82505, Lincoln,
                                                                                                                  NE 68501-2505
17178453                   Email/Text: INAGBankruptcy@atg.in.gov
                                                                                        Jun 17 2025 21:24:00      Indiana Attorney General, Government Center,
                                                                                                                  302 West Washington Street, 5th Floor,
                                                                                                                  Indianapolis, IN 46204
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District/off: 0756-1                                              User: admin                                                             Page 2 of 2
Date Rcvd: Jun 17, 2025                                           Form ID: b318                                                         Total Noticed: 21
17178457              ^ MEBN
                                                                                   Jun 17 2025 21:18:58     TransUnion LLC, P.O. Box 2000, Chester, PA
                                                                                                            19016-2000
17178451              + Email/Text: USAINS.ECFBankruptcy@usdoj.gov
                                                                                   Jun 17 2025 21:24:00     United States Attorney, 10 West Market Street,
                                                                                                            Suite 2100, Indianapolis, IN 46204-1986
17178452              ^ MEBN
                                                                                   Jun 17 2025 21:20:23     United States Attorney General, U.S. Department
                                                                                                            of Justice, 950 Pennsylvania Avenue, NW,
                                                                                                            Washington, DC 20530-0001

TOTAL: 15


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 19, 2025                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 17, 2025 at the address(es) listed below:
Name                             Email Address
Benjamin Allen Dennison
                                 on behalf of Creditor Credit Acceptance Corporation bankruptcy@weinerlaw.com bdennison@weinerlaw.com

Matthew Donald Draving
                                 on behalf of Debtor Ashlie Noel Cowan mattdraving@slbankruptcy.com
                                 kendall@slbankruptcy.com;paralegal@slbankruptcy.com;sara@slbankruptcy.com;temp@slbankruptcy.com;Draving.MattBC1471
                                 2@notify.bestcase.com

Thomas A. Krudy
                                 tkrudytrustee@gmail.com IN65@ecfcbis.com

U.S. Trustee
                                 ustpregion10.in.ecf@usdoj.gov


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Information to identify the case:
                    Ashlie Noel Cowan                                  Social Security number or ITIN:   xxx−xx−6529
Debtor:
                    Name                                               EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court − Southern District of Indiana
Case number:        25−01168−JMC−7



Order of Discharge                                                                                                           12/2015

IT IS ORDERED that a discharge under 11 U.S.C. § 727 is granted to the following debtor:

           Ashlie Noel Cowan



Dated: June 17, 2025                                                By the court: /s/ James M. Carr
                                                                                  Judge, U.S. Bankruptcy Court


                             Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                     Pursuant to 11 U.S.C. § 524(c) or (f), this order
and it does not determine how much money, if                       does not prevent the debtor from paying any debt
any, the trustee will pay creditors.                               voluntarily or from paying reaffirmed debts
                                                                   according to the reaffirmation agreement.
Creditors cannot collect discharged debts
This order means that no one may make any                          Most debts are discharged
attempt to collect a discharged debt from the                      Most debts are covered by the discharge, but not
debtor personally. For example, creditors cannot                   all. Generally, a discharge removes the debtor's
sue, garnish wages, assert a deficiency, or                        personal liability for debts owed before the
otherwise try to collect from the debtor personally                debtor's bankruptcy case was filed.
on discharged debts. Creditors cannot contact the
debtor by mail, phone, or otherwise in any attempt                 Also, if this case began under a different chapter
to collect the debt personally. Creditors who                      of the Bankruptcy Code and was later converted
violate this order can be required to pay the                      to chapter 7, debts owed before the conversion
debtor damages and attorney's fees.                                are discharged.

However, a creditor with a lien may enforce a                      In a case involving community property, special
claim against the debtor's property subject to that                rules protect certain community property owned
lien unless the lien was avoided or eliminated. For                by the debtor's spouse, even if that spouse did
example, a creditor may have the right to                          not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.
                                                                                                    For more information, see page 2 >




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Debtor Ashlie Noel Cowan                                                                    Case number 25−01168−JMC−7

                    Explanation of Bankruptcy Discharge in a Chapter 7 Case (continued)


Some debts are not discharged                                     Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are                     agreement are not discharged.
listed below:
                                                                  In addition, this discharge does not stop creditors
• Debts that are domestic support obligations.                    from collecting from anyone else who is also
                                                                  liable on the debt, such as an insurance company
• Debts for most student loans.                                   or a person who cosigned or guaranteed a loan.

• Debts for most taxes.
                                                                    This information is only a general summary
• Debts that the bankruptcy court has decided or                    of the bankruptcy discharge; some
  will decide are not discharged in this bankruptcy                 exceptions exist. Because the law is
  case.                                                             complicated, you should consult an
                                                                    attorney to determine the exact effect of the
• Debts for most fines, penalties, forfeitures, or                  discharge in this case.
  criminal restitution obligations.
• Some debts which the debtor did not properly
  list.

• Debts for certain types of loans owed to
  pension, profit sharing, stock bonus, or
  retirement plans.

• Debts for death or personal injury caused by
  operating a vehicle while intoxicated.




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